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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                             CHIEF JUDGE MARCIA S. KRIEGER

   Courtroom Deputy:      Patricia Glover                       Date: November 13, 2018
   Court Reporter:        Terri Lindblom

   Civil Action No. 15-cv-02539-MSK-STV

   Parties:                                                     Counsel Appearing:

   Samone Walker                                                Wilbur Smith
   DaShawn Walker                                               Brian Moore
   Theresa Denbow                                               Niki Schwab
   Cesqua Rasumssen
   Terri Eddy
   Rebecca Esquibel
   Denita Hartzog
   Giovanna Kemp
   Lisa Maes
   Peggy Major
   Courtney Mickelson
   Sadie Montano
   Paula Purdy
   Stacy Wright
   Rhonda Casado,

                  Plaintiffs,

   v.

   City and County of Denver,                                   Ashley Kelliher
   Denver Sheriff Department                                    Jessica Allen
                                                                Shelby Felton
                  Defendant.


                                      COURTROOM MINUTES


   HEARING:       Final Pretrial Conference.

   Hearing continued from June 13, 2018.

   10:18 a.m.     Court in session.

   The parties were not required to attend.

   The Court addresses a conflict as set forth on the record.

   10:22 a.m.     Court in recess
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   10:42 a.m.     Court in session

   Defendant orally moves for recusal in this matter.

   ORDER:         Defendant’s oral motion for recusal is GRANTED. The case will be reassigned.

   10:43 a.m.     Court in recess.

   Total Time: 5 minutes.
   Hearing concluded.
